                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF MISSOURI
                                   EASTERN DIVISION

 MISSOURI PRIMATE FOUNDATION,                       )
 et al.,                                            )
                                                    )
                 Plaintiffs and                     )
                 Counterclaim Defendants,           )
                                                    )
 v.                                                 )          Case No. 4:16-cv-02163
                                                    )
 PEOPLE FOR THE ETHICAL                             )
 TREATMENT OF ANIMALS, INC., et al.,                )
                                                    )
                 Defendants and                     )
                 Counterclaim Plaintiffs.           )
      CONSENT MOTION FOR MODIFICATION OF SECOND AMENDED CASE
                        MANAGEMENT ORDER

         Counterclaim Plaintiffs People for the Ethical Treatment of Animals and Angela Scott

hereby move for an Order modifying the Second Amended Case Management Order [ECF No.

127], as follows:

         1.     Section I.2(a) provides, “All parties shall disclose all expert witnesses and shall

provide the Reports required by Rule 26(a)(2)(B), Fed. R. Civ. P., no later than February 1,

2019.”

         2.     In a continuing effort to avoid the need for Court intervention with respect to

discovery issues, the parties have conferred and agreed to modify this date as follows: “All

parties shall disclose all expert witnesses and shall provide the reports required by Rule

26(a)(2)(B), Fed. R. Civ. P., no later than February 15, 2019.”

         3.     Specifically, counsel for Counterclaim Plaintiffs and Counterclaim Defendant

Casey reached an agreement to this modification on December 21, 2018, and counsel for
Counterclaim Defendant Sawyer asserted on December 23, 2018, that he has no objection to this

modification.

       4.       This modification was agreed upon with the express understanding of the parties

that no other deadlines or provisions in the Second Amended Case Management Order shall be

affected thereby.



Dated: December 31, 2018                     Respectfully submitted,

                                             /s/ Martina Bernstein
                                             MARTINA BERNSTEIN (#230505CA)
                                             PETA Foundation
                                             1536 16th St. NW
                                             Washington, DC 20036
                                             202.483.7382
                                             Fax No: 202.540.2208
                                             martinab@petaf.org

                                             JARED S. GOODMAN (#1011876DC)
                                             PETA Foundation
                                             2154 W. Sunset Blvd.
                                             Los Angeles, CA 90032
                                             323.210.2266
                                             Fax No: 213.484.1648
                                             jaredg@petaf.org

                                             POLSINELLI PC
                                             JAMES P. MARTIN (#50170)
                                             KELLY J. MUENSTERMAN (#66968)
                                             100 S. Fourth Street, Suite 1000
                                             St. Louis, MO 63102
                                             314.889.8000
                                             Fax No: 314.231.1776
                                             jmartin@polsinelli.com

                                             Attorneys for Defendants/
                                             Counterclaim Plaintiffs
                               CERTIFICATE OF SERVICE


       I certify that on December 31, 2018, the foregoing was electronically filed with the Clerk

of the Court using the CM/ECF system, by which notification of such filing was electronically

sent and served to the following:

       Debbie S. Champion, dchampion@rssclaw.com
       Victor Essen, vessen@rssclaw.com
       Attorneys for Plaintiff/Counterclaim Defendant Connie Braun Casey

       Geordie Duckler, geordied@animallawpractice.com
       Attorney for Plaintiff/Counterclaim Defendant Andrew Sawyer


                                                    /s/ Jared Goodman
